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                                          No. 23-______

                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT
                                      ________________

                             IN RE: MARRIOTT INTERNATIONAL, INC.
                          CUSTOMER DATA SECURITY BREACH LITIGATION
                                      ________________
                              On Petition For Permission To Appeal
                 from the United States District Court for the District of Maryland,
                                MDL No. 19-md-2879 (Bailey, J.)
                                        ________________

          PETITION OF DEFENDANT ACCENTURE LLP FOR PERMISSION TO
                          APPEAL UNDER RULE 23(f)
                              ________________
                                                DEVIN S. ANDERSON
                                                CRAIG S. PRIMIS, P.C.
                                                EMILY M. LONG
                                                JOSEPH C. SCHROEDER
                                                KIRKLAND & ELLIS LLP
                                                1301 Pennsylvania Avenue, NW
                                                Washington, DC 20004
                                                (202) 389-5000
                                                devin.anderson@kirkland.com
                                                Counsel for Defendant-Petitioner
                                                Accenture LLP
         December 13, 2023
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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

        x    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
             statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
             or local government is not required to file a disclosure statement in pro se cases. (All parties
             to the action in the district court are considered parties to a mandamus case.)
        x    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
        x    In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
        x    Any corporate amicus curiae must file a disclosure statement.
        x    Counsel has a continuing duty to update the disclosure statement.


        No. __________             Caption: __________________________________________________
                                            In re: MARRIOTT INTERNATIONAL, INC.

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Accenture LLP
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          petitioner          makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES ✔ NO


        2.      Does party/amicus have any parent corporations?                                ✔ YES      NO
                If yes, identify all parent corporations, including all generations of parent corporations:

                 Accenture plc, Accenture Inc., Accenture LLC, Accenture Sub LLC, Accenture Sub II Inc.,
                 Accenture Sub III Inc., and Accenture Sub IV Inc.



        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                              ✔ YES       NO
                If yes, identify all such owners:
                 Accenture plc, Accenture Inc., Accenture LLC, and Accenture Sub LLC




        12/01/2019 SCC                                   -1-
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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES ✔ NO
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?                                   YES ✔ NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES ✔ NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   /s Devin S. Anderson
        Signature: ____________________________________                     Date: ___________________
                                                                                       12/13/2023

                     Accenture LLP
        Counsel for: __________________________________




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                                         INTRODUCTION

              This Court previously found that class certification in this sprawling data-

        breach litigation warranted Rule 23(f) review, and the same serious, unresolved, and

        recurring questions persist following remand back to the district court. See In re

        Marriott Int’l, Inc., 78 F.4th 677 (4th Cir. 2023).1 That is because the district court

        (now Judge John M. Bailey, following Judge Paul W. Grimm’s retirement)

        proceeded to recertify the class as to Accenture in a single sentence that did not

        address any of the Rule 23 or Article III concerns that were the subject of extensive

        briefing, argument, and analysis in this Court. That leaves this case with the same

        glaring procedural and constitutional deficiencies that this Court believed were

        deserving of Rule 23(f) review previously. If anything, the district court’s failure to

        address issues highlighted in this Court’s opinion heightens the need for intervention.

              To recap: this case arises out of the 2018 Marriott data breach. As plaintiffs

        made their way through discovery, they had just one theory of common, class-wide

        injury for their negligence claims against Accenture, which was an IT-services

        contractor for Marriott. Plaintiffs claimed they had somehow lost revenue from

        hypothetical sales of their data because of the breach. The district court rejected that

        theory on the facts, the law, and under Federal Rule of Evidence 702. The district



        1
         For brevity, all internal quotations have been omitted and all emphasis has been
        added, unless otherwise noted.
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        court then concluded that plaintiffs’ damages class against Accenture failed Rule 23,

        because injury, causation, and damages were not common issues and predominated.

        But the district court adopted a novel strategy of using Rule 23(c)(4)’s provision for

        “issue” classes to certify classes only on the elements of duty and breach. Whether

        viewed through the lens of Rule 23 commonality, predominance, or superiority, or

        Article III, there is nothing to recommend a class action where there is admittedly

        no class-wide injury. As the district court acknowledged, millions of follow-on,

        individual trials on important elements of liability like injury and causation would

        still be required before any individual plaintiff could prove a claim.

              This Court vacated these unusual issue classes and thoughtfully highlighted

        significant problems that the district court should consider in the first instance. For

        one, the Court recognized that it is an open question in this Circuit whether it is even

        permissible to “certify certain elements of a cause of action as to which common

        issues predominate” for class treatment, where “individual issues predominate as to

        other elements.” In re Marriott Int’l, 78 F.4th at 688. The Court also acknowledged

        Accenture’s concern that where “injury and causation elements have been carved out

        of class proceedings,” the “result is inconsistent with Article III standing

        requirements because there is no assurance at the certification stage that all class

        members have suffered the necessary injury in fact at the hands of the defendant.”

        Id. at 689 n.7. And the Court emphasized that Rule 23(b)(3)’s “superiority” criterion



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        “takes on special importance” when using Rule 23(c)(4), especially where

        “cleav[ing] off” elements of a cause of action means that the class litigation will not

        actually resolve liability for any class member. Id. at 689. But this Court ruled

        narrowly. It declined to resolve these important questions because once the Court

        “vacated certification of the Rule 23(b)(3) damages classes against Marriott …,

        nothing remains to support the district court’s superiority finding as to the issue

        classes against Accenture.” Id. at 690.

              Unfortunately, the same critical Rule 23 and Article III problems endure,

        because the district court ignored this Court’s opinion and reinstated the classes

        against Accenture with no analysis on remand. This Court should grant review

        again, and reverse. The same divide concerning the appropriate use of the issue-

        class mechanism remains in the district courts of this Circuit.            The same

        constitutional concerns remain with the district court’s proposed advisory class

        trials. And the district court has not shown that it will engage with these important

        issues, which will remain unresolved because the unusual decision to certify

        individual elements of a single claim will likely preclude a further opportunity for

        review in this Court.

                                    STATEMENT OF FACTS

              On November 30, 2018, Marriott announced that its legacy Starwood guest-

        reservation database had experienced a cyberattack.           Forensic investigation



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        determined that a threat actor may have gained access to personal information of

        Starwood guests—including names, addresses, email addresses, phone numbers, and

        birthdates, as well as some passport and payment-card numbers, the vast majority of

        which were encrypted. ECF.598-1.at.5-7. Following Marriott’s announcement,

        numerous lawsuits were filed against Marriott and ultimately consolidated in a

        multi-district litigation in the District of Maryland. ECF.1.

              Accenture was an IT contractor for Starwood during the relevant period.

        ECF.1019-18.at.46:10-17. Given its role as a behind-the-scenes third-party service

        provider, Accenture never interacted directly with Marriott customers. Nevertheless,

        plaintiffs added Accenture as a named defendant. ECF.537. While plaintiffs alleged

        statutory, contractual, and negligence claims against Marriott, they asserted only

        negligence claims against Accenture.

              Following fact and expert discovery, plaintiffs moved to certify Rule 23(b)(3)

        damages classes based on two theories of alleged harm. First, as to their contract

        claims against Marriott, plaintiffs put forward a model asserting that they were

        overcharged for staying in Marriott hotels. Second, as to their negligence claims,

        plaintiffs offered one damages theory: that their personally identifiable information

        (or “PII”), had some common “market value” that plaintiffs “lost…when hackers

        gained access to, and/or exported, PII from the NDS database.” ECF.1014.at.32 (Ex.

        A). The court rejected this latter theory in full. ECF.1012.at.24-38 (Ex. B.). In



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        denying certification of a damages class on plaintiffs’ negligence claims, the district

        court found that “the loss of market value theory cannot support class certification

        … even as to liability,” as “too many open questions remain as to

        individualization”—including “fact of injury, injury causation, etc”—“to satisfy the

        predominance requirement” of Rule 23(b)(3). ECF.1014.at.33.

              The district court nevertheless certified a Rule 23(c)(4) issue class—not to

        resolve any claims, but to resolve only “the duty and breach issues.”

        ECF.1014.at.66. In so doing, the district court admitted that it was relying on a

        “broad view” of Rule 23(c)(4) that has not been endorsed or adopted by this Court.

        ECF.1014.at.61&n.60. And the district court acknowledged that individual trials

        would still be required on injury, causation, and damages. ECF.1014.at.66. But it

        posited that this approach would produce “efficiency gains,” since it had already

        certified a separate damages class against Marriott. ECF.1014.at.66,67.

              Accenture successfully petitioned for an interlocutory appeal of that initial

        class certification order under Rule 23(f), and this Court vacated and remanded. The

        Court recognized that the district court’s order raised questions regarding issue

        classes that were “not … free from doubt.” In re Marriott Int’l, 78 F.4th at 689. The

        Court also noted Accenture’s argument that because even the fact of injury was not

        a common issue, the classes raised questions of Article III standing. Id. at 689 n.7.

        But the Court determined that it could vacate the classes on superiority grounds,



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        because the district court’s superiority finding was based solely on the fact that it

        had also certified classes against Marriott, and the Court was reversing the Marriott

        certification. Id. at 689. The Court said that the district court, on remand, could

        reconsider its findings as to Accenture. Id. at 689–690.

              Without further evaluating these important issues, the district court sua sponte

        reinstated the classes against Accenture. It asked for briefing on the separate issue

        of “the effect of [a] class waiver provision contained in the Starwood Preferred Guest

        Program ‘Terms and Conditions’ on the potential certification of a class,” but did not

        ask for briefing on the issue classes or otherwise indicate that it was ready to fully

        resolve other class certification issues. See ECF.1135. After receiving briefing on

        the class waiver and holding that Marriott could not invoke it, the district court

        proceeded to reinstate the issue classes as well, without further analysis:

              This Court also finds that inasmuch as this Court will re-certify the classes
              with respect to Marriott in this case, the class certification with regard to
              Accenture will be reinstated again.

        ECF.1155.at.20 (Ex. C).2

                                   QUESTIONS PRESENTED

              1. Whether a court can certify a class under Rule 23 or Article III without a

        viable theory of class-wide injury susceptible to common proof.


        2
          Marriott’s separate Rule 23(f) petition discusses significant issues relating to the
        district court’s decision on the class waiver. Because Accenture believes that these
        issues also support review, Accenture joins in Marriott’s petition in full.


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              2. Whether a court can use Rule 23(c)(4) to hold class trials on individual

        elements of a single claim.

                                      STANDARD OF REVIEW

              This Court has “unfettered discretion” to allow an appeal from an order

        granting class certification based on “any consideration that [it] finds persuasive.”

        Fed. R. Civ. P. 23(f), Adv.Comm.Note. When conducting a Rule 23(f) inquiry, this

        Court considers “whether the certification ruling is likely dispositive,” whether it

        “contains a substantial weakness,” whether “appeal will permit the resolution of an

        unsettled legal question of general importance,” “the nature and status of the

        litigation,” and “the likelihood that future events will make appellate review more

        or less appropriate.” Lienhart v. Dryvit Sys., Inc., 255 F.3d 138, 144 (4th Cir. 2001).

              The “substantial weakness” factor “operates on a sliding scale to determine

        the strength of the necessary showing regarding the other … factors.” Id. at 145–

        46. The weaker the order, the less important the other factors become. Id. “The

        court should grant the petition, notwithstanding the other factors, where a district

        court’s certification decision is manifestly erroneous and virtually certain to be

        reversed on appeal.” EQT Prod. Co. v. Adair, 764 F.3d 347, 357 (4th Cir. 2014).

                                           ARGUMENT

              The decision below checks every box that matters to Rule 23(f) review. It

        raises important legal issues that divide district courts and remain undecided. In re



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        Marriott Int’l, 78 F.4th at 688–89. It commits manifest errors and did not address

        this Court’s guidance in the prior appeal. And “the nature and status of the litigation”

        also supports review, where the district court’s unusual class proceeding will resolve

        liability for not even a single plaintiff as to Accenture and will needlessly duplicate

        these proceedings. This Court should grant review.

        I.       The District Court Erred By Certifying Classes That It Admitted Lack
                 Any Class-wide Injury Subject To Common Proof.

                 1. Although the district court’s order warrants reversal on multiple grounds,

        each stems from the fateful decision to certify a class despite finding there was no

        common injury uniting the class against Accenture.3 The Supreme Court has

        cautioned that the “class action is an exception to the usual rule that litigation is

        conducted by and on behalf of the individual named parties only.” Wal-Mart Stores,

        Inc. v. Dukes, 564 U.S. 338, 348 (2011). Plaintiffs seeking class-action treatment of

        their claims “must affirmatively demonstrate [their] compliance with Rule 23.”

        Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013). Rule 23(a) “[c]ommonality

        requires the plaintiff to demonstrate that the class members have suffered the same

        injury.” Wal-Mart, 564 U.S. at 349-50; see also id. at 348–49 (plaintiffs who seek

        to represent a class must “possess the same interest and suffer the same injury as the


             3
             Because the district court on remand (Bailey, J.) simply reinstated the issues
        classes without analysis, the references to “district court” going forward in this
        submission are referring to the original opinions of the district court (Grimm, J.),
        unless otherwise specified.


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        class members”); Ealy v. Pinkerton Gov’t Servs., Inc., 514 F. App’x 299, 304 (4th

        Cir. 2013) (class must have “a shared injury”). When plaintiffs seek damages on

        behalf of an entire class, Rule 23(b)(3) predominance requires that plaintiffs be able

        to measure the impact of the injury across the class. Comcast, 569 U.S. at 35

        (plaintiffs must “provide a method to measure and quantify damages on a classwide

        basis”). The Supreme Court in recent years therefore has not hesitated to reject class

        actions lacking viable theories of class-wide liability and injury. See Wal-Mart, 564

        U.S. at 349-50; Comcast, 569 U.S. at 38; see also TransUnion LLC v. Ramirez, 141

        S. Ct. 2190, 2203 (2021).

                The district court manifestly erred by certifying classes with no common

        injury here.   The district court examined plaintiffs’ only purportedly common

        evidence of injury, causation, and damages—the market-value model offered by

        their expert—and found it unscientific, unreliable, and a poor fit for the facts of the

        case.   ECF.1012.at.24–38. Thus, and as this Court noted when vacating and

        remanding the district court’s order previously, all “theories of injury” pressed by

        the plaintiffs against Accenture “were concededly individualized … individualized

        issues predominated as to whether they [class members] had suffered actual injury”

        at all. In re Marriott Int’l, 78 F.4th at 684. That should have been the end of the

        matter. If the question of whether class members have been injured cannot be

        answered the same, up or down, “in one stroke” for everyone in the class, there can



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        be no class action. Wal-Mart, 564 U.S. at 350. This through line in Wal-Mart,

        Comcast, and TransUnion should have made certification of any class against

        Accenture a non-starter.

              2. The district court nonetheless certified a class under Rule 23(c)(4)’s

        provision for “issue” classes—not to resolve an individual cause of action or even

        liability—but to resolve only a subset of the essential elements of liability, namely,

        the “duty and breach issues.” ECF.1014.at.66. The first class-certification order

        (and the only order with any analysis of the issue) purported to rely on this Court’s

        decision discussing issue classes in Gunnells v. Healthplan Services, Inc., 348 F.3d

        417 (4th Cir. 2003). But that 20-year-old decision (predating Wal-Mart, Comcast,

        and Transunion) does not override the Supreme Court’s command that injury be a

        common question. Gunnells held that a Rule 23(c)(4) issue class may be certified

        only if “all other necessary requirements of subsections (a) and (b) of Rule 23 are

        met.” 348 F.3d at 441. Here, plaintiffs lacked a common injury, and so neither Rule

        23(a) nor (b) were met.

              The district court acknowledged that “the Fourth Circuit has not explicitly

        adopted,” the admittedly “broad view” of Rule 23(c)(4) on which the district court’s

        decision rested, ECF.1014.at.61&n.60 (citing Gunnells, 348 F.3d at 441), but it

        seemed to think that Gunnells supported its effort to whittle down plaintiffs’

        proposed class to just two elements after they failed to demonstrate that liability was



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        a common issue. In Gunnells, this Court held that “if [an] action includes multiple

        claims, one or more of which might qualify as a certifiable class claim, the court

        may separate such claims from other claims in the action and certify them under the

        provisions of subsection (c)(4).” 348 F.3d at 441. Thus, issue certification was

        appropriate so long as “a cause of action, as a whole … satisf[ied] rule 23(b)(3)’s

        predominance requirement,” which was decidedly not the case here. Id. at 441, 444.

        Gunnells thus permitted issue class certification as a case-management tool for

        limited purposes, such as to certify an entire claim (but not other claims) for class

        treatment. Id. at 444.

              The more sparing approach of Gunnells avoids predominance problems that

        arise when Rule 23(c)(4) is used to carve out one or two elements of a claim for class

        treatment. Predominance is even “more demanding” than commonality, Comcast,

        569 U.S. at 33-34, and requires that “questions of law or fact common to class

        members predominate over any questions affecting only individual class members,”

        Fed. R. Civ. P. 23(b)(3). Yet as this Court recognized (without deciding the matter),

        the district court’s use of “issue” classes in this case could render predominance a

        dead letter. “[O]nce the issues to be certified are narrowed down to make them

        sufficiently common, it is virtually axiomatic that common issues will predominate.”

        In re Marriott Int’l, 78 F.4th at 689. This approach enables an “end-run around Rule

        23(b)(3),” Tillman v. Highland Indus., Inc., 2021 WL 4483035, at *18 (D.S.C. Sept.



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        30, 2021), and removes all meaning from the pronouncement in Gunnells that issue

        classes, like all other classes, must satisfy Rule 23’s “subsection (b),” 348 F.3d at

        452. See also Harris v. Medical Transp. Mgmt., Inc., 77 F.4th 746, 762 (D.C. Cir.

        2023) (vacating issue class certification, and cautioning that “[n]or can

        predominance become a tautological inquiry … [a]n issue class cannot consist of a

        single common question that predominates [only] as to itself.”).

              The district court’s approach to issue class certification renders predominance

        “tautological” in this case. The quintessential predominance hurdle is lack of

        common injury. “[P]redominance … demands … that all class members were in fact

        injured,” In re Rail Freight Fuel Surcharge Antitrust Litig.- MDL No. 1869, 725

        F.3d 244, 252 (D.C. Cir. 2013), and that individualized injuries not require “separate

        mini-trial(s) of an overwhelming large number of individual claims,” Windham v.

        Am.Brands, Inc., 565 F.2d 59, 68 (4th Cir. 1977). But that is exactly the problem

        here. The only reason the district court even considered splitting off elements of

        plaintiffs’ negligence claims for issue class treatment was that common issues did

        not predominate as to the negligence cause of action as a whole: there were “too

        many open questions remain[ing] as to individualization to satisfy the predominance

        requirement,” including “fact of injury, injury causation, etc.” ECF.1014.at.33.

        Class certification should have been denied, not granted.




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              Gunnells expressly declined to “enter th[e] fray” of whether Rule 23(c)(4)

        could be used to certify one or more elements of a single cause of action. Gunnells,

        348 F. 3d at 444. And in the prior appeal, this Court recognized that whether an

        element-by-element issue class could ever be permissible was thus still an open

        question. See In re Marriott Int’l, 78 F.4th at 688. It also bears noting that Gunnells

        predates the Supreme Court’s more-recent pronouncements in Wal-Mart, Comcast,

        and TransUnion. Even before Wal-Mart, this Court recognized that aspects of

        Gunnells may reflect an out-of-date permissiveness towards class actions: to “the

        extent the vision of liberality and flexibility set forth by the court in Gunnells

        conflicts with the Supreme Court’s admonitions that we should pay ‘careful

        attention’ to Rule 23 by giving it a ‘rigorous analysis,’ we are, of course, bound to

        follow the Supreme Court.” Thorn v. Jefferson-Pilot Life Ins. Co., 445 F.3d 311, 318

        n.8 (4th Cir. 2006).4 As the district court’s decisions show, the time to decide that

        question is now.     The Court should hold that issue class certification is not

        appropriate in the absence of a common harm uniting the class. See Wal-Mart, 564

        U.S. at 349-50 Gunnells, 348 F.3d at 441.

              3. The issue classes also make a hash of Rule 23(b)(3)’s command that “a

        class action [be] superior to other available methods for fairly and efficiently



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         Gunnells also approved a 23(c)(4) class in the context of conditional certification,
        348 F.3d at 433, which is no longer permitted by Rule 23. See Adv.Comm.Note.

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        adjudicating the controversy.”     Fed. R. Civ. Proc. 23(b)(3).       This superiority

        guardrail “takes on special importance” when district courts certify issue classes. In

        re Marriott Int’l, 78 F.4th at 689. When district courts use issue classes to engage in

        a “narrowing process” and “cleave[] off individualized questions … for separate

        individual trials,” they by the same token also “diminish[] the efficiency gains of the

        class proceedings.” Id. at 689. The result is that “the superiority component of Rule

        23(b)(3) frequently comes into play to defeat issue certification,” especially “where

        the remaining individualized issues will … require significant resources.” Id.

        (quoting Romig v. Pella Corp., 2016 WL 3125472, at *15 (D.S.C. June 3, 2016) and

        Parker v. Asbestos Processing, LLC, 2015 WL 127930, at *15 (D.S.C. Jan. 8, 2015)).

              The potential for complex follow-on individual trials underpinned the Court’s

        prior decision to vacate class certification against Accenture. The Court expressly

        advised that the district court could “reconsider [its] determination” as to superiority

        “[o]n remand.” Id. at 690. That did not happen. The new judge on remand failed

        to “consider [this] determination,” and so committed yet another manifest error. It

        bears repeating: despite this Court recognizing that this case threatens significant

        superiority problems, the district court on remand recertified issue classes against

        Accenture in a single sentence, without briefing, and without even mentioning the

        superiority requirement. ECF.1155.at.20.




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               To be sure, this Court had acknowledged that the district court’s superiority

        decision could “tak[e] into account” whether it would also certify “classes against

        Marriott,” Accenture’s co-defendant. In re Marriott Int’l, 78 F.4th at 690. But the

        district court on remand simply took it for granted that if it found Marriott’s class

        waiver unavailable and recertified the class action against Marriott, then a class

        action necessarily must be certified against Accenture, too, without further briefing

        and analysis. But that is not at all what this Court said, nor would such automatic

        re-certification make sense. The claims against Marriott include “contract and

        consumer-protection claims” against Marriott alone. Id. at 683. The only claims

        pressed against Accenture are negligence claims—the very ones for which the

        district court acknowledged that injury and causation were individualized. Id. at

        684.   Certification of different causes of action against a different defendant

        (Marriott) could hardly dispose of whether classes should be certified on only some

        elements of separate claims brought against Accenture. At a minimum, on remand,

        the district court should have considered this Court’s opinion, and addressed whether

        follow-on trials on injury and causation issues “w[ould] also require significant

        resources,” “defeat[ing] issue certification.” Id. at 689.

               That inquiry could have had only one answer. The superiority problems in

        this case are overwhelming: the district court’s certification order envisions a class-

        wide proceeding purporting to determine only negligence’s duty and breach



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        elements, without determining even liability (much less damages) for any single

        class member. Literally millions of individuals would then, to recover, need to

        pursue trials on causation and damages after that.5 These millions of individual trials

        would each have to consider whether the individual (a) suffered an injury (b) caused

        by defendants’ purported breach of the duty of care, and (c) giving rise to damages,

        and in what amount. None of those questions would be simple—the district court

        admitted that “discovery taken to date … has demonstrated [that] a large number of

        class members’ PII may have been exposed in data breaches other than the Starwood

        breach or exposed in another manner.” ECF.1014.at.63. One named plaintiff, for

        example, revealed that she suffered identity theft not on account of the data breach,

        but rather because she lost her physical credit card on vacation. See ECF.1019-26 at

        42:13–44:20. The result is that each of these millions of follow-on proceedings

        would be “[t]he functional equivalent of a full-blown trial on damages causation,”

        ECF.1014.at.63, each requiring enormous expense.

              There is little reason to believe that superiority’s ultimate aim can be met in

        this case. Superiority tests whether “the objectives of the class-action procedure


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          Nor is it clear that even the duty and breach elements of a negligence claim could
        here be resolved in a single class-wide proceeding. Negligence claims are typically
        governed by the law of the state of a plaintiff’s injury, see Bank of Louisiana v.
        Marriott Int’l, Inc., 438 F. Supp. 3d 433, 443 n. 8 (D. Md. 2020) (discussing the lex
        loci delicti choice-of-law rule), with the result that different state negligence laws
        will likely apply to different class members. Resolving duty and breach may require
        separate proceedings considering variations in those negligence laws.

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        really will be achieved,” Stillmock v. Weis Markets, Inc., 385 F. App’x 267, 274 (4th

        Cir. 2010), meaning whether “Rule 23 is sufficiently effective to justify the

        expenditure of the judicial time and energy that is necessary to adjudicate a class

        action,” Wright & Miller, 7AA Fed. Prac. & Proc. Civ. § 1779 (3d ed.). But even if

        the district court ends up issuing a purportedly binding ruling as to breach and duty,

        few if any plaintiffs here will ever seek to prove individual injuries or causation. As

        plaintiffs themselves admitted to this Court in the prior go-round, “only a lunatic or

        a fanatic sues for a small amount.” See In re Marriott Int’l, No. 22-1744, Dkt.42 at

        87 (filed Nov. 15, 2022). The only thing to be added by issue class certification is

        extra litigation, with little prospect of resolving or even helping in resolving a single

        individual claim.

              4. Finally, certifying class actions without common injuries raises serious

        Article III concerns. “Rule 23’s requirements must be interpreted in keeping with

        Article III constraints.” Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 592 (1997).

        Plaintiffs must establish standing for “[e]very class member,” “each claim that they

        press,” and “each form of relief that they seek.” TransUnion, 141 S. Ct. at 2208; see

        also Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167,

        185 (2000).6 This class proceeding, however, will not and cannot determine whether


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          For example, to the extent plaintiffs seek a declaratory judgment about whether
        Accenture had a duty or breached a duty to class members, standing would be
        required for that declaratory judgment: “just like suits for every other type of remedy,

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        the class members suffered “an injury in fact that is concrete, particularized, and

        actual or imminent.” TransUnion, 141 S. Ct. at 2203; see also Lujan v. Defenders

        of Wildlife, 504 U.S. 555, 561 (1992); Spokeo, Inc. v. Robins, 578 U.S. 330, 338

        (2016). Plaintiffs’ only theory of common, class-wide harm was excluded under

        Rule 702 and Daubert; plaintiffs have not appealed that determination, and plaintiffs

        expressly admit that the existence and extent of any other harm (identity theft or

        mitigation) would vary from class member to class member. No proceeding will

        determine whether the class has been injured. By definition, a proceeding directed

        only to duty and breach will not and cannot determine, up or down, whether “[e]very

        class member … ha[s] Article III standing” for their claims against Accenture.

        TransUnion, 141 S. Ct. at 2208.

              Thus, even though federal courts do not “adjudicate hypothetical or abstract

        disputes” or “issue advisory opinions,” id. at 2203, an impermissible advisory

        opinion is all that could result from the district court’s procedure here. This Court

        acknowledged Accenture’s points on this issue last time. Although it did not “ha[ve]

        occasion to address” the standing issue, it noted Accenture’s argument that

        “carv[ing]” the “injury and causation elements … out of class proceedings” was

        “inconsistent with Article III standing requirements, because there [wa]s no



        declaratory-judgment actions must satisfy Article III's case-or-controversy
        requirement.” California v. Texas, 141 S. Ct. 2104, 2115 (2021).


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        assurance at the certification stage that all class members have suffered the necessary

        injury in fact at the hands of the defendant.” In re Marriott Int’l, 78 F.4th at 689 &

        n.7. Absent that injury in fact, there is no standing to award judgment in one stroke

        to the entire class on even the duty or breach elements of the class members’ claims.

        Nor is there subject-matter jurisdiction to bind class members to such a class-wide

        ruling—the ruling would instead be advisory, precisely the sort of “roving

        commission” that TransUnion and other cases have prohibited. TransUnion, 141 S.

        Ct. at 2203.

              The district court’s failure to address the constitutional problems created by

        its issue classes was manifest error. At a minimum, Rule 23(c)(4) must include

        injury as one of the “issues” to be tried in common. Otherwise, there is no

        jurisdiction to adjudicate the claims for the issue class in the first place. This

        constitutional issue, too, cries out for this Court’s review.

        II.   The Questions Presented Are Important And Resolving Them Now Will
              Simplify or Dispose of This Litigation.

              Even apart from manifest error, additional factors also support granting this

        petition. First, review “will permit the resolution of [u]nsettled legal question[s] of

        general importance” requiring this Court’s needed guidance. Lienhart, 255 F.3d at

        144. The exact same questions that this Court previously found worthy of 23(f)

        review remain unanswered. The case for review has only strengthened given that




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        the district court made the same errors certifying the same classes, and refused to

        engage with the questions that this Court had directed it to consider on remand.

              To start, district courts in this Circuit have divided over whether Gunnells

        permits element-by-element issue certification. Compare Farrar & Farrar Dairy,

        Inc. v. Miller-St. Nazianz, Inc., 254 F.R.D. 68, 77 (E.D.N.C. 2008) (“the Gunnells

        court appeared to hold that a district court may certify individual causes of action,

        not individual issues, for class treatment”); with Naparala v. Pella Corp., 2016 WL

        3125473, at *13-14 (D.S.C. June 3, 2016) (discussing a “more permissive approach”

        to issue classes). This “[C]ourt has yet to rule directly on this issue,” and so which

        side of the split is correct is “not … free from doubt.” In re Marriott Int’l, 78 F.4th

        at 689. The district court’s decision adopts the permissive side of the split without

        any analysis, rendering it more entrenched.

              The district court’s decision also diverges from those in other data-breach

        cases, which have rejected exactly the same sorts of “[d]uty and breach” issue classes

        that the district court certified here as incompatible with Rule 23(b)(3) predominance

        and superiority. Adkins v. Facebook, Inc., 424 F. Supp. 3d 686, 697 (N.D. Cal. 2019);

        Tillman, 2021 WL 4483035, at *19 (similar). And it raises constitutional problems,

        as this Court has already recognized. See In re Marriot Int’l, 78 F.4th at 689 n.7; see

        also Moss v. United Airlines, Inc., 20 F.4th 375, 379 (7th Cir. 2021). These questions

        support review, too.



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              Second, the “nature and status of the litigation” also favors granting the

        petition, especially where reversal would be “likely dispositive” as to Accenture.

        Lienhart, 255 F.3d at 144. This Court holds that “review is appropriate … to avoid

        the judicial diseconomy entailed in allowing a class certification which is clearly

        infirm to be litigated to final judgment only to face vacatur on appeal.” Id. at 146.

        That judicial-economy concern is well-founded in this case. If the Court does not

        review the district court’s order, then Accenture will be required to engage in a likely

        unconstitutional issue-class proceeding without resolving liability for any class

        member. The Court may never have a chance to review this proceeding, as it is

        unclear whether any class member would ever actually prove the remaining

        causation and injury elements of their claims (and so whether there would ever be a

        final judgment that could be appealed from). As even plaintiffs acknowledge, “only

        a lunatic” would pursue individual trials even under the district court’s issue-class

        order. See In re Marriott Int’l, No. 22-1744, Dkt. 36 at 87. The possibility that the

        class could “escape effective review” alone supports granting the petition. Lienhart,

        255 F.3d at 144.

              Yet if the class is ever actually appealed, then economy concerns support

        review as well. The class would (due to its constitutional infirmities) almost

        certainly “face vacatur on appeal,” id. at 146, leaving all negligence elements of

        plaintiffs’ claims still unresolved after years of protracted proceedings. Manifest



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        error, failure to address this Court’s prior guidance, and basic efficiency concerns all

        favor granting the petition and deciding the important questions presented here.

                                           CONCLUSION

              For these reasons, this Court should grant the petition.

                                                       Respectfully submitted,

                                                       /s/ Devin S. Anderson
                                                       DEVIN S. ANDERSON
                                                       CRAIG S. PRIMIS, P.C.
                                                       EMILY M. LONG
                                                       JOSEPH C. SCHROEDER
                                                       KIRKLAND & ELLIS LLP
                                                       1301 Pennsylvania Avenue, NW
                                                       Washington, DC 20004
                                                       (202) 389-5000
                                                       devin.anderson@kirkland.com
                                                       Counsel for Defendant-Petitioner
                                                       Accenture LLP
        December 13, 2023




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                              CERTIFICATE OF COMPLIANCE

              1. This brief complies with the type-volume limitation of Fed. R. App. P.

        5(c)(1) because this brief contains 5,175 words, excluding the parts of the brief

        exempted by Fed. R. App. P. 32(f).

              2. This brief complies with the typeface requirements of Fed. R. App. P.

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        December 13, 2023

                                                     s/Devin S. Anderson
                                                     Devin S. Anderson
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                                  CERTIFICATE OF SERVICE

              I hereby certify that on December 13, 2023, I electronically filed the foregoing

        with the Clerk of the Court for the United States Court of Appeals for the Fourth

        Circuit by using the CM/ECF system pursuant to Local Rule 25(a)(1)(A)(i). I further

        certify that copies were sent to the following via electronic mail:

        Amy E. Keller                                 MaryBeth V. Gibson
        DICELLO LEVITT GUTZLER LLC                    THE FINLEY FIRM, P.C.
        Ten North Dearborn Street, 6th Floor          3535 Piedmont Rd, Bldg. 14, Ste 230
        Chicago, IL 60602                             Atlanta, GA 30305
        akeller@dicellolevitt.com                     mgibson@thefinleyfirm.com

        James J. Pizzirusso                           Ariana J. Tadler
        HAUSFELD LLP                                  TADLER LAW LLP
        888 15th St. NW, Ste 300                      One Penn Plaza, 36th Floor
        Washington, DC 20006                          New York, NY 10119
        jpizzirusso@hausfeld.com                      atadler@tadlerlaw.com

        Megan Jones                                   Jason Lichtman
        HAUSFELD LLP                                  LIEFF CABRASER HEIMANN &
        600 Montgomery Street, Ste 3200               BERNSTEIN, LLP
        San Francisco, CA 94111                       250 Hudson Street, 8th Floor
        mjones@hausfeld.com                           New York, NY 10013
                                                      jlichtman@lchb.com
        Andrew N. Friedman
        COHEN MILSTEIN SELLERS &                      Daniel Robinson
        TOLL PLLC                                     ROBINSON CALCAGNIE, INC.
        1100 New York Avenue, NW, Ste 500             19 Corporate Plaza Drive
        Washington, DC 20005                          Newport Beach, CA 92660
        afriedman@cohenmilstein.com                   drobinson@robinsonfirm.com

        Norman E. Siegel
        STUEVE SIEGEL HANSON LLP
        460 Nichols Road, Ste 200
        Kansas City, MO 64112
        siegel@stuevesiegel.com
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        Timothy Maloney                              Gilbert S. Keteltas
        Veronica Nannis                              BAKER & HOSTETLER LLP
        JOSEPH GREENWALK & LAAKE,                    1050 Connecticut Ave. NW, Ste 200
        P.A.                                         Washington, DC 20036
        6404 Ivy Lane, Ste 400                       gketeltas@bakerlaw.com
        Greenbelt, MD 20770
        tmaloney@jgllaw.com                          Matthew S. Hellman
        vnannis@gjllaw.com                           Lindsay C. Harrison
                                                     Zachary C. Schauf
        Gary F. Lynch                                Kevin J. Kennedy
        CARLSON LYNCH LLP                            Elizabeth B. Deutsch
        1133 Penn Avenue, 5th Floor                  JENNER & BLOCK LLP
        Pittsburgh, PA 15222                         1099 New York Avenue, NW, Ste 900
        glynch@carlsonlynch.com                      Washington, DC 20001
                                                     mhellman@jenner.com
        James Ulwick                                 lharrison@jenner.com
        KRAMON & GRAHAM PA                           edeutsch@jenner.com
        1 South Street, Ste 2600
        Baltimore, MD 21202
        julwick@kg-law.com

        Daniel R. Warren
        Lisa M. Ghannoum
        Dante A. Marinucci
        BAKER & HOSTETLER LLP
        127 Public Square, Ste 200
        Cleveland, OH 44114
        dwarren@bakerlaw.com




                                                     s/Devin S. Anderson
                                                     Devin S. Anderson
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